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                                Atlanta Division                  ft

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 14~k- W&t~
 Plaintiff,



                                          Case Number



 C&~A         Sea&Lt~ovts
 Defendant




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